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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION

CHRISTOPHER SEAMAN and
ELIZABETH ALLISON LYONS,
individually and on behalf of C.S., a
minor, et al.,

      Plaintiffs,

v.
                                        Civil Action No. 3:22-cv-00006-NKM
THE COMMONWEALTH OF
VIRGINIA; et al.,

      Defendants.

                      AFFIDAVIT OF COLIN GREENE, MD
                    ACTING STATE HEALTH COMMISSIONER
                    FOR THE COMMONWEALTH OF VIRGINIA

I, Dr. Colin M. Greene, declare under penalty of perjury that the following is true and

correct, to the best of my knowledge and belief.

      1.     I currently serve as Acting State Health Commissioner for the

Commonwealth of Virginia. I have been in that role since 15 January 2022. Before

my appointment as Acting State Health Commissioner, I served as Health Director

of the Lord Fairfax Health District. Prior to 2017, I served 30 years on active duty in

the US Army, with assignments including Interim Commander of the Walter Reed

Army Institute of Research in Silver Spring, Maryland, and numerous clinical,

administrative, academic, and public health-related assignments, including deputy

commander of the 28th Combat Support Hospital in Iraq. I am a board-certified

family physician with 35 years’ experience and hold a Master of Public Health from

the University of Washington.

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       2.      In my capacity as Acting State Health Commissioner, I advise the

Governor, the Virginia Department of Health, and the Virginia Department of

Education on the Commonwealth’s effort to combat the novel coronavirus known as

COVID-19.

       3.      On January 30, 2020, the World Health Organization declared the

outbreak a “public health emergency of international concern.” On January 31,

United States Health and Human Services Secretary declared a public health

emergency. On February 7, the prior State Health Commissioner declared COVID-

19 a Communicable Disease of Public Health Threat for Virginia. On March 12,

Governor Northam declared a State of Emergency in the Commonwealth in response

to the spread of COVID-19.

       4.      In 2020, there was no proven treatment or cure for COVID-19 and no

vaccine to address COVID-19. As a result, the Governor and the prior Commissioner

of Health issued several orders to mitigate the spread of COVID-19 in the

Commonwealth.

       •    On March 13, 2020, the Governor temporarily closed K–12 schools and

            limited the number of patrons in restaurants, fitness centers, and theaters

            to no more than 10 per establishment. 1

       •    On March 20, the Governor issued Order of Public Health Emergency 1,

            which amended the Declaration of Public Health Emergency previously


1Exhibit 1 (Office of the Governor, Governor Northam Orders All Virginia K–12 Schools Closed for
Minimum of Two Weeks (Mar. 13, 2020)); Exhibit 3 (Office of the Governor, Executive Order 53:
Temporary Restrictions on Restaurants, Recreational, Entertainment, Gatherings, Non-Essential
Retail Business, and Closure of K-12 Schools Due to Novel Coronavirus (COVID-19) (Mar. 23, 2020)).

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              issued and made clear that willful violation of the 10-patron limit on

              restaurants, fitness centers, and gymnasiums was punishable as a Class-1

              misdemeanor and/or license suspension and was enforceable by the Health

              Commissioner in a civil action. 2

          •   On March 24, 2020, the Governor issued Executive Order 53, which

              extended school closures for the remainder of the school year, temporarily

              prohibited private and public gatherings of 10 or more individuals, and

              directed certain businesses (such as entertainment venues) to close their

              doors to the public. Other businesses (for example, restaurants) were

              required to close all dining and congregation areas but were permitted to

              engage in takeout and delivery services. Most retail businesses were also

              required to adhere to the 10-person limit. Certain essential businesses

              (such as grocery stores) were permitted to exceed the 10-person limit, but

              were required to adhere to social distancing recommendations, enhanced

              sanitizing practices on common surfaces, and other appropriate workplace

              guidance from state and federal authorities while in operation. 3

          •    On March 31, 2020, the Governor issued Executive Order 55, which

              imposed additional restrictions and extended the duration of the gatherings




2Exhibit 2 (Commonwealth of Virginia Executive Department, Order of the Governor and State Health
Commissioner: Declaration of Public Health Emergency (Mar. 16, 2020)).

3   Exhibit 3, supra note 1, at 2.

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               restriction announced in Executive Order 53. Executive Order 55 directed

               all Virginians to stay at home except as needed to perform essential tasks. 4

          5.      Much has changed since 2020, but many health authorities have not

updated their guidance accordingly. Safe and effective vaccines are now widely

available for COVID-19, even for children as young as five years old. 5 In one clinical

study, COVID-19 vaccines were over 90% effective in preventing COVID-19 in the 5

through 15 age group, as well as in preventing severe illness with COVID-19 in

children 16 and older. 6 Medical providers have identified numerous effective

treatments for COVID-19. 7 How COVID-19 spreads and therefore effective mitigation

efforts are better understood. The CDC has issued guidance on numerous COVID-19

mitigation strategies, including screening testing, ventilation, handwashing, and

respiratory etiquette, staying home when sick and getting tested, contact tracing in

combination with quarantine and isolation, and cleaning and disinfection. 8

          6.      Several variants of the COVID-19 virus have emerged, each with

varying levels of contagion and virulence. The most recent variant, Omicron, has in

many ways behaved quite differently from previous variants. It spread extremely



4Exhibit 4 (Office of the Governor, Executive Order 55: Temporary Stay at Home Order Due to Novel
Coronavirus (COVID-19) (Mar. 30, 2020)).

5 Exhibit 40 (Centers for Disease Control and Prevention, COVID-19 Vaccines for Children and Teens
(Jan. 11, 2022)).

6   Exhibit 41 (Mayo Clinic, COVID-19 vaccines for kids: What you need to know (Jan. 9, 2022)).

7 Exhibit 42 (National Institutes of Health, COVID-19 Treatments (Jan. 31, 2022)); Exhibit 43
(Harvard Medical School, Treatments for COVID-19 (Feb. 15, 2022)).

8Exhibit 51 (Centers for Disease Control and Prevention, Guidance for COVID-19 Prevention in K–12
Schools (Jan. 13, 2022)).

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rapidly in numerous foreign countries and states, and followed a relatively consistent

pattern of a rapid rise, peak, and fall of cases. 9 In Virginia, Omicron’s impact

coincided with an up to 20-fold increase in average daily case counts between

November 1, 2021 and Jan 11, 2022, with the highest rates of increase, and highest

case rates per capita, in the urban and suburban regions, with somewhat lower rates

of rise in rural areas. 10 This pattern was striking insofar as the urban and suburban

regions in Virginia typically have relatively higher vaccination rates than rural

areas, 11 as well as greater adherence to mitigation techniques, including masking.

Consistent with the pattern seen elsewhere, infection rates in Virginia are now

dropping precipitously. 12 As of February 21, 2022, the seven-day average of daily

COVID-19 case rates had dropped by 86.4% from its peak on January 13, 2022. 13

             7.   Despite the rapid and typically record case rates occurring during the

Omicron phase, death rate rises have been proportionately much lower when

compared with previous variants. These outcomes are consistent with literature

describing Omicron as a highly contagious variant that tends to cause less severe

disease. 14       These findings together may be taken to suggest that (1) previously


9 Exhibit 5 (Worldometer, COVID-19 Coronavirus Pandemic (last updated Feb. 22, 2022) (showing
global case count trends)).

10   Exhibit 6 (Virginia Dep’t of Health, COVID-19 in Virginia: Locality (last accessed Feb. 18, 2022)).

11Exhibit 7 (Virginia Dep’t of Health, COVID-19 in Virginia: Vaccine Summary (last accessed Feb. 18,
2022)).

12   Exhibit 53 (Worldometer, Virginia (last updated Feb. 22, 2022)).

13   Ibid.

 Exhibit 8 (Cecilia Ulloa, et al., Early estimates of SARS-CoV-2 Omicron variant severity based on a
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matched cohort study, Ontario, Canada 1 (Jan. 2, 2022)).

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applicable mitigation strategies, including universal masking, may be less effective

against Omicron than against previous variants, and (2) that the risk of severe

disease from Omicron is significantly lower than from Delta and its predecessors. It

is apparent that the Omicron variant behaves differently from previous variants of

COVID-19, and that assumptions tied to those prior variants, including the benefits

of universal masking, may need to be reexamined.

          8.      Children are at very low risk of severe illness due to COVID-19. In

Virginia, there have been recorded 18,338 deaths associated with the disease. Of

those, eight were in children aged 0–9, and ten in persons aged 10–19, so persons

under age 20 accounted for 0.1% of total COVID deaths. 15 Viewed another way, there

are 2,103,000 persons in Virginia under age 20, 16 yielding a 2-year risk of death from

COVID-19 for that age group of 0.00086%, or about 1/117,000. These figures include

the approximately 18-month period where there was no vaccine available for children.

It is apparent that the risk of death from COVID-19 in children, while not zero, is

extremely low. For comparison, 11 children aged 0–17 died from influenza in Virginia

during the 2018-20 flu seasons. 17 The CDC has found that COVID-19-associated

hospitalization rates among children have been similar to flu-associated




15Exhibit 9 (Virginia Dep’t of Health, COVID-19 in Virginia: Demographics (last accessed Feb. 22,
2022)).

16   Exhibit 10 (United States Census, Virginia: Populations and People (last accessed Feb. 22, 2022)).

17   Exhibit 15 (VAFLU, Virginia Dep’t of Health Weekly Influenza Activity Report 6 (Oct. 7, 2021)).

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hospitalization rates during the three recent flu seasons prior to the COVID-19

pandemic. 18

          9.      The risk of serious illness and death from COVID-19 is higher in

children with certain serious underlying medical conditions. The risk of other

common respiratory illnesses, including influenza, is also higher for this population. 19

          10.     K–12 mask mandates impose strict mitigation measures of questionable

effectiveness on the portion of the population that bears the lowest risk from COVID-

19.

          11.     It is true that the virus that causes COVID-19 is extremely contagious.

It spreads through close person-to-person contact or by contact with the respiratory

droplets produced when an infected person coughs, sneezes or talks. As a result, the

CDC has said that universal and correct masking helps mitigate the spread of

COVID-19. As discussed above, however, it is not clear that these measures are

effective against the more easily transmissible, but less severe, Omicron variant.

          12.     There are benefits and costs to mask wearing in the school environment.

The benefits may include reduced transmission of the virus. However, masks made

of plain cloth, masks that are soiled or poorly fitting, and masks that are not worn

properly provide reduced or no benefit. These types of masks are often observed in

the school environment. And multiple studies have recognized that transmission




18Exhibit 11 (Centers for Disease Control and Prevention, Frequently Asked Influenza (Flu) Questions:
2021–2022 9 (Feb. 14, 2022)).

19   Exhibit 45 (Centers for Disease Control and Prevention, Flu & Young Children 4–5 (Oct. 25, 2021)).

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rates within schools are either lower than, or the same as, overall community

transmission rates, when prevention strategies are in place. 20

          13.     The CDC presently recommends the use of N95 or KN95 masks as the

best practice to reduce COVID transmission. Mandating student use of such masks

in schools would have significant downsides because such masks are very tight and

uncomfortable and may be poorly tolerated by many children. Most children and most

adults are not using N95 or KN95 masks. At the same time, for children capable of

wearing N95 or KN95 masks, such masks can reduce the wearer’s risk of contracting

COVID-19 by up to 83%. 21 Properly fitted N95 or KN95 masks provide protection to

the wearer from contracting COVID-19 22—even when the wearer is in close proximity

to others who are not masked—because these respirators effectively filter out viruses

like COVID-19.




20Exhibit 26 (Justin Lessler, et al., Household COVID-19 risk and in-person schooling 1 (June 4,
2021)); Exhibit 33 (Centers for Disease Control and Prevention, Science Brief: Transmission of SARS-
CoV-2 in K–12 Schools and Early Care and Education Programs - Updated 3 (Dec. 17, 2021)); Exhibit
49 (Va. Dep’t of Health, Acting State Health Commissioner Order Rescinding Order of Public Health
Emergency Ten (2021) Imposing Statewide Requirement to Wear Masks in K–12 Schools (Jan. 21,
2022)); Exhibit 50 (Va. Dep’t of Health, Interim Guidance for COVID-19 in Virginia PreK–12 Schools
(Feb. 11, 2022)).

21Exhibit 12 (Kristin L. Andrejko, et al., Effectiveness of Face Mask or Respirator Use in Indoor Public
Settings for Prevention of SARS-CoV-2 Infection 1 (Feb. 11, 2022)); Exhibit 13 (U.S. Food & Drug
Administration, N95 Respirators, Surgical Masks, Face Masks, and Barrier Face Coverings 5 (Sept.
15, 2021)); Exhibit 24 (World Health Organization, Coronavirus disease (COVID-19): Children and
masks – Should children who have health issues or a medical condition that compromises their immune
system wear a mask? (Aug. 21, 2020) (recommending children with “underlying health conditions”
wear “medical mask[s]”)).

22   Exhibit 12, supra note 21, at 8.


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        14.     Masks of any kind may cause discomfort, skin irritation, anxiety, and

otherwise negatively affect a child’s emotional state. 23 Children may have difficulty

hearing, talking, perceiving emotion, or otherwise communicating, and making social

connections when wearing masks, and mask-wearing can be detrimental to speech

and language development. 24 Reusing masks can also lead to fungal contamination. 25

        15.     Wearing a mask can be particularly detrimental to children with certain

disabilities or health conditions. 26 For example, children with asthma or other

respiratory impairments may have trouble breathing in masks. 27 Masks may also

exacerbate anxiety or claustrophobia in children, sometimes leading to respiratory

distress or hyperventilation. 28 Children with glasses may have trouble seeing as


23Exhibit 38 (Priska Ammann, et al., Perceptions towards mask use in school children during the
SARS-CoV-2 pandemic: the Ciao Corona Study 2–3 (Sept. 8, 2021)).

24 Exhibit 14 (Sean C.L. Deoni, et al., Impact of the COVID-19 Pandemic on Early Child Cognitive
Development: Initial Findings in a Longitudinal Observational Study of Child Health 2 (Aug. 11,
2021)); Exhibit 27 (UK Dep’t for Education, Evidence Summary: Coronavirus (COVID-19) and the use
of face coverings in educational settings 8–10 (Jan. 2022)); Exhibit 28 (Anna Sfakianaki, et al.., Effect
of face mask and noise on word recognition by children and adults 1 (October 2021)); Exhibit 29 (Marco
Marini, et al., The impact of facemasks on emotion recognition, trust attribution and re-identification
1 (2021)); Exhibit 30 (Farid Pazhoohi, et al., Facial masks affect emotion recognition in the general
population and individuals with autistic traits 1 (Sept. 30, 2021)); Exhibit 31 (David J. Lewkowicz,
Masks Can Be Detrimental to Babies’ Speech and Language Development, Scientific American 2–3
(Feb. 11, 2021)); Exhibit 32 (Felix Grundmann, et al., Face masks reduce emotion-recognition accuracy
and perceived closeness 1 (Apr. 23, 2021)); Exhibit 34 (Elizabeth Ritter, et al., Impact of Masks on
Speech Recognition in Adult Patients with and without Hearing Loss 2 (Sept. 28, 2021)).

25Exhibit 39 (Vishakh C. Keri, et al., Pilot study on burden of fungal contamination in face masks:
Need for better mask hygiene in the COVID-19 era, 2021(4) Le Infezioni in Medicina 557, 558–59 (Nov.
20, 2021)).

26Exhibit 25 (World Health Organization, Coronavirus disease (COVID-19): Children and masks –
Should children with developmental disabilities wear masks? (Aug. 21, 2020)).

27Exhibit 35 (Andrew C. Engler, Wearing a Mask if you have Asthma, The Allergy & Asthma Clinic
(Aug. 2020)).

28Exhibit 23 (Israel Amirav & Moran Lavie, Spurious Asthma Presentation During COVID-19 2 (Dec.
23, 2021)).

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masks fog their glasses. 29 Children who are autistic may have sensory sensitivities

that make it extremely difficult for them to tolerate mask-wearing. 30 Children with

speech or hearing impairments may have particular difficulties communicating while

wearing masks. 31

       16.     As noted above, during the Omicron outbreak, urban regions in Virginia

with more restrictive masking policies and practices have experienced transmission

rates similar to, or greater than, the transmission rates of rural regions with less

restrictive mask policies and practices.

       17.     There is presently disagreement among health experts regarding the

costs and benefits of mask-wearing for children in school. At least one study found

that masking teachers and staff was associated with a statistically significant

decrease in COVID-19 transmission, however it failed to find the same difference for

masking students. 32 Some countries such as the United Kingdom, are moving away




29Exhibit 47 (American Association for Pediatric Opthalmology and Strabismus, Tips for Wearing
Glasses with Masks 1 (last accessed, Feb. 19, 2022)).

30Exhibit 16 (Robyn Thom & Karen Turner, Helping people with autism spectrum disorder manage
masks and COVID-19 tests, Harvard Medical School (June 10, 2020)); Exhibit 17 (Organization for
Autism Research, The Challenge of Face Masks 3 (Nov. 12, 2020)).

31Exhibit 46 (Haley Herfurth, Learn how masking negatively affects those with hearing loss – and how
you can help, UAB News (Aug. 14, 2020)); Exhibit 44 (Nat’l Ass’n of Colleges and Employers,
Addressing Challenges Students With Hearing Loss May Face During Pandemic (Jul. 4, 2020)); Exhibit
52 (Manoel Nobrega, et al., Letter to the Editor: How face masks can affect school performance, 138
Int’l J. of Pediatric Otorhinolaryngology 110328 (Sept. 1, 2020)).

32Exhibit 54 (Jenna Gettings, et al., Mask Use and Ventilation Improvements to Reduce COVID-19
Incidence in Elementary Schools — Georgia, November 16–December 11, 2020, Centers for Disease
Control and Prevention 3 (May 28, 2021)).


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from mask mandates for children and adults. 33 International bodies including the

United Nations Children Fund (UNICEF) and the World Health Organization (WHO)

recommend against masking children younger than five, and recommend that

decisions to use masks for children ages 6–11 should be based on a multi-factor

analysis, including the child’s ability to wear a mask safely and appropriately, and

the potential effects of wearing a mask on the child’s learning and psychosocial

development. 34 Multiple states in this country have recently announced their

intention to withdraw mask mandates generally and in schools. 35

       18.     Notwithstanding the above, there are certain circumstances where VDH

recommends masking. First, when a child is at increased risk of severe illness from

COVID-19 or lives with individuals at higher risk for severe illness, parents should

discuss with their medical providers whether to mask. Second, when a child is

returning from isolation due to COVID or was subject to a close contact exposure,

VDH guidelines permit return to school but recommend that such children wear a

mask on days 6–10 following exposure. This approach uses masking on a more




33Exhibit 18 (Marie Jackson & Mary O’Connor, Covid: Face mask rules and Covid passes to end in
England, BBC (Jan. 19, 2022)).

34Exhibit 22 (World Health Organization, Coronavirus disease (COVID-19): Children and masks –
Should children wear a mask? (Aug. 21, 2020)); Exhibit 37 (UNICEF, COVID-19 and masks: Tips for
families (Sept. 1, 2021)).

35Exhibit 19 (State of New Jersey Dep’t of Health, Governor Murphy Announces That Universal School
Mask Mandate Will Be Lifted Effective March 7 (Feb. 7, 2022)); Exhibit 20 (The Office of Governor Ned
Lamont, Governor Lamont Announces Plan To Eliminate Statewide School Mask Requirement, Allow
These Decisions To Be Determined at the Local Level (Feb. 7, 2022) (Connecticut)); Exhibit 21
(Delaware News, Governor Carney Announces Expiration of Universal Indoor Mask Mandate on
February 11 (Feb. 7, 2022)).

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targeted basis, rather than requiring all students to mask all the time regardless of

the circumstances.

       19.     It should be noted that even under strict masking requirements,

children typically do not wear masks in school while eating meals, playing sports, and

engaging in other activities where masking is not feasible. They do not wear goggles

or face shields to protect their eyes from virus particles. And, of course, children are

not required to wear masks outside of school or at home. Additionally, most parents

and other adults are not required to mask while engaging in their daily activities and

are thus not masking consistently. For these reasons too, strict masking in school

imposes hardship while providing only questionable benefit toward reducing the

transmission of COVID-19. 36

       20.     As to the risk to teachers, they can protect themselves through

vaccination, proper masking with respirators, good hygiene, such as frequent hand

washing, requiring that sick children stay home, and targeted masking requirements

for children discussed above. This is true for COVID-19, the flu, or any contagious

respiratory disease.

       21.     It is apparent that, as described above, the Omicron variant appears

more contagious and less likely to cause severe disease, than previous variants of

COVID-19. It spread extremely rapidly through urban populations in Virginia where




36Exhibit 27, supra note 24, at 9; Exhibit 36 (Emily Oster, et al., COVID-19 Mitigation Practices and
COVID-19 Rates in Schools: Report on Data from Florida, New York and Massachusetts (May 21, 2021)
(concluding that “[w]e do not find any correlations with mask mandates”); Exhibit 26, supra note 20,
at 8; Exhibit 48 (Margery Smelkinson, et al., The Case Against Masks at School, The Atlantic (Jan. 26,
2022)); Exhibit 54, supra note 32, at 10.

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